     Case 2:18-cr-00014-LGW-BWC Document 421 Filed 09/20/18 Page 1 of 4



                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

UNITED STATES OF AMERICA                      )      CR 218-14
                                              )
      v.                                      )
                                              )
EDRIN TEMPLE                                  )

               GOVERNMENT’S OPPOSITION TO DEFENDANT
                  EDRIN TEMPLE’S MOTION FOR BOND

      Now comes the United States of America, by and through Bobby L. Christine,

United States Attorney for the Southern District of Georgia, and files the

Government’s Opposition to Defendant Edrin Temple’s Motion for Bond

(Doc. 410).

      1.      On April 3, 2018, this Court entered a detention order with respect to

Defendant Edrin Temple. (Doc. 141.) In that order, the Court concluded that

Defendant’s request for pretrial release is moot because Defendant is currently

serving a state sentence and thus would remain in custody regardless of the Court’s

ruling on his motion for pretrial release. The Court also noted that, in the event of

a change in circumstances such that Defendant wants to invoke his right to a

detention hearing under 18 U.S.C. § 3142, Defendant must notify the Court by

filing an application for bond.

      2.      On September 6, 2018, Defendant filed a motion for bond and

requested a detention hearing under 18 U.S.C. § 3142. (Doc. 410.) Defendant

contends that he has now completed his state sentence and asks the Court to grant

him release pending trial.
    Case 2:18-cr-00014-LGW-BWC Document 421 Filed 09/20/18 Page 2 of 4



      3.     Defendant’s motion for bond is meritless and should be denied. As an

initial matter, Defendant’s motion remains moot. The Government has conferred

with the United States Probation Office, and has been informed that Defendant

remains an active inmate and has not completed his state sentence. As such,

Defendant’s request for pretrial release should be denied as moot.

      4.     Defendant’s motion for pretrial release also fails on the merits. This

case involves serious drug crimes under the Controlled Substances Act, 21 U.S.C. §

801 et seq., for which Defendant could be required to serve ten or more years in

prison. Accordingly, under the Bail Reform Act, 18 U.S.C. § 3142(e)(3)(A), there is a

rebuttable presumption that no condition or combination of conditions of release

will reasonably assure Defendant’s appearance at court proceedings and the safety

of the community. Defendant cannot rebut this statutory presumption of pretrial

detention. In addition, the Government is prepared to establish at any detention

hearing, should one ever be necessary, that there are no conditions or combination

of conditions that will reasonably assure Defendant’s appearance in this case and

the safety of any other person and the community.

      5.     For these reasons, the Government submits that Defendant’s motion

for bond should be denied.

                                Respectfully submitted,

                                BOBBY L. CHRISTINE
                                UNITED STATES ATTORNEY

                                /s/ Matthew A. Josephson
                                Matthew A. Josephson
                                Assistant United States Attorney

                                          2
Case 2:18-cr-00014-LGW-BWC Document 421 Filed 09/20/18 Page 3 of 4



                        Georgia Bar No. 367216




                                3
     Case 2:18-cr-00014-LGW-BWC Document 421 Filed 09/20/18 Page 4 of 4



                            CERTIFICATE OF SERVICE


       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this Court.


                                   Respectfully submitted,

                                   /s/ Matthew A. Josephson
                                   Matthew A. Josephson
                                   Assistant United States Attorney
                                   Georgia Bar No. 367216
                                   Post Office Box 8970
                                   Savannah, Georgia 31412
                                   (912) 652-4422
